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                     IN THE UNITED STATES DISTRICT COURT FOR

                              EASTERN DISTRICT OF VIRGINIA                                           . n-

                                                                                                  _j
                                       Alexandria Division                  CLERK, U S. DISTRICT COURT
                                                                               ALEXANDRIA VIRmrjia

 UNITED STATES OF AMERICA

                V.                                       Case No. 1:20-CR-J^
 GARRISON KENNETH COURTNEY,
    also known as
        ■'Garrison Kenneth Pierson Courtney,'
        "Glenn Nelson,"
        "Glenn Nielson,"
        "Gary Pierson," and
        "Garrison Pierson,"

                Defendant.


                                     PLEA AGREEMENT


       G. Zachary Tcrwilliger, United States Attorney for the Eastern District of Virginia,

Matthew Burke, Heidi Boutros Gesch, and Raj Parekh, Assistant United States Attorneys, Corey

R. Amundson, Chief, Public Integrity Section, Department of Justice, Todd Gee, Deputy Chief,

Public Integrity Section, Department of Justice, the defendant, GARRISON KENNETH

COURTNEY, also known as "Garrison Kenneth Pierson Courtney," "Glenn Nelson," "Glenn

Nielson," "Gary Pierson," and "Garrison Pierson," and the defendant's counsel have entered into

an agreement pursuant to Rule 11 of the Federal Rules of Criminal Procedure. The terms of the

agreement are as follows:

       1.      OiTcnse and Maximum Penalties


       Tlie defendant agrees to waive indictment and plead guilty to a single count criminal

information charging the defendant with wire fraud, in violation of Title 18. United States Code,

Section 1343. The maximum penalties for this offense arc a maximum term of 20 years of
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